           Case 5:18-cv-01184-DAE Document 49 Filed 05/29/20 Page 1 of 13




                                     United States District Court
                                      Western District of Texas
                                       San Antonio Division

 Rogelio Barron and Maria Barron,
 Individually and On Behalf of Anthony
 Barron
     Plaintiff,

     v.                                                        No. 5:18-CV-001184-DAE

 United States of America
    Defendant.

Defendant’s First Amended Designation of Potential Witnesses, Testifying Experts, Expert
                           Reports and Proposed Exhibits

          Defendant designates potential witnesses, testifying experts, non-testifying experts, expert

reports and proposed exhibits pursuant to Fed. R. Civ. P. 26(a)(2)(B) as follows:


I. Defendant’s List of Potential Fact Witnesses

          Defendant hereby designates as persons with knowledge, the drivers, the first responders,

law enforcement personnel, witnesses, subsequent United States Air Force employees, health care

providers referenced in the health care records of Anthony Barron, including physicians, nurse

practitioners, nurses, radiologists, physician’s assistants, medical technicians, physical therapists,

clinics, hospitals, pharmacies, any other medical providers and their agents, representatives and

other persons with potentially relevant knowledge. This listing would also include everyone who

has already been deposed in this case who saw the actually incident and who has relevant

knowledge about the incident in question and all individuals who has been identified in response

to discovery requests and produced documentation. To the extent it is necessary to call live at

trial or by deposition in this cause any agents, representatives, employees and/or custodian of

records for any of the following first responders, health care providers, Air Force employees,

eyewitnesses and others, Defendant identifies such custodian as a person who may have factual
        Case 5:18-cv-01184-DAE Document 49 Filed 05/29/20 Page 2 of 13




knowledge regarding issues related to the incident in question to include personal knowledge of

the records. For the writings of each medical or other fact witness, you will find them in the

relevant medical records or other documents that have been produced during the course of this

ongoing discovery. Persons identified with relevant knowledge are, but not limited to:


   1.    Rogelio Barron
         c/o Jay L. Winckler
         Winckler, & Harvey, L.L.P.
         4407 Bee Caves Road, Bldg. 2, Suite 222
         Austin, Texas 78746

         Plaintiff, father of the deceased Anthony Barron.

   2.    Maria Barron
         c/o Jay L. Winckler
         Winckler, & Harvey, L.L.P.
         4407 Bee Caves Road, Bldg. 2, Suite 222
         Austin, Texas 78746

         Plaintiff, mother of the deceased Anthony Barron.

   3.    Archie Lee Cooper, III
         321 Brook Way
         Cibolo, Texas, 78108
         c/o Counsel for Defendant

         Joint Base San Antonio Game Warden, Conservation Officer

   4.    Wayne Lorenzo Evans
         7711 Clear Ridge Drive
         San Antonio, Texas 78239
         c/o Counsel for Defendant

         Range Technician, United States Air Force-now retired.

   5.    Thomas Gaffney
         208 Whispering Oaks
         San Antonio, Texas 78230
         c/o Counsel of Defendant

         Retired-Fire Station Chief, Joint Base San Antonio-who was at Camp Bullis on day of
         incident.-now retired.



Designation of Potential Witnesses                                                           2
        Case 5:18-cv-01184-DAE Document 49 Filed 05/29/20 Page 3 of 13




   6.   Tracy Goodlow
        513 Roadrunner Ave
        New Braunfels, Texas 78130
        c/o Counsel for Defendant

        Security Forces Officer, United States Air Force

   7.   Martin L. Ingleston, II
        1661 State Highway 173 South
        Devine, Texas 78016
        c/o Counsel for Defendant

        Ground maintenance and Tractor Operator at Camp Bullis, Non Appropriated Funds

   8.   Jarvis T. Rodgers, Sr.
        2043 Western Pecan
        New Braunfels, Texas 78120
        c/o Counsel for Defendant

        Security Forces Officer, United States Air Force

   9.   Daniel Wilson
        11722 South Vine St.
        Jinx, Oklahoma 74037
        c/o Counsel for Defendant

        Hunter at Camp Bullis on October 30, 2015

   10. Vincent Yuille
       Range Operations (Bldg 6110)
       21161 Camp Bullis Road,
       Camp Bullis, Texas 78257-9729
       c/o Counsel for Defendant

        Knowledge of Camp Bullis

   11. Joe Arellano-Meteorologist-in-Charge
       National Weather Service
       2090 Airport Road,
       New Braunfels, Texas 78130
       c/o Counsel for Defendant

        Meteorologist

   12. Paul Yura
       National Weather Service



Designation of Potential Witnesses                                                       3
        Case 5:18-cv-01184-DAE Document 49 Filed 05/29/20 Page 4 of 13




        2090 Airport Road,
        New Braunfels, Texas 78130
        c/o Counsel for Defendant

        Meteorologist

   13. Forrest Hughes
       Custodian of Records for Service Contracts at Joint Base San Antonio
       502 2nd Civil Engineering Squadron
       1555 Gott St. (Bldg. 5595)
       Camp Bullis, Texas 78257-9729
       c/o Counsel for Defendant

        Knowledge of Contracts

   14. James H. Graham
       902nd Civil Engineer Squadron
       1651 5th Street, Hangar 62
       JBSA-Randolph, Texas 78150
       c/o Counsel for Defendant

        Director of the 902nd Civil Engineering Squadron (902 CES), and senior civil
        engineering representative at Camp Bullis on October 30, 2015

   15. Steven Gonzales
       Address currently unknown
       c/o Counsel for Defendant

        Knowledge on Range Operations who was working at Camp Bullis on October 30,
        2015

   16. Jerry Rangel, Manager
       TDRI
       Camp Bullis location
       San Antonio, Texas
       c/o Counsel for Defendant

        He was manager at Training, Rehabilitation and Development Institute employee at
        Camp Bullis. He has left their employment. His whereabouts are currently unknown.

   17. Chris Guerrero
       Address currently unknown
       c/o Counsel for Defendant




Designation of Potential Witnesses                                                          4
        Case 5:18-cv-01184-DAE Document 49 Filed 05/29/20 Page 5 of 13




        He was at Camp Bullis around the time frame in question and may have some
        knowledge regarding the white vehicle. His current whereabouts are uncertain and
        may have been a range control technician.

   18. Donne Karandang
       Address currently unknown
       c/o Counsel for Defendant

        Former employee of TRDI and friend of the deceased Anthony Barron who may have
        been called when these events in question were transpiring.

   19. Randall L. Lierly
       Air Force Civil Engineer Center (AFCEC)
       c/o Counsel for Defendant

        Architect of the Air Force with knowledge regarding signage on military bases and the
        incorporation of the MUTCD into military signage standards

   20. T-Mobile
       Custodian of Records
       4 Sylvan Way
       Parsippany, New Jersey 07054
       c/o Counsel for Defendant

        Knowledge of cellular telephone usage of the deceased Anthony Barron on October 30,
        2015

   21. National Weather Service
       Custodian of Records
       1325 East West Highway
       Silver Spring, Maryland 20910
       c/o Counsel for Defendant

        Knowledge of weather conditions on October 30, 2015

   22. National Weather Service Austin/San Antonio, TX
       Custodian of Records
       2090 Airport Road
       New Braunfels, Texas 78130
       c/o Counsel for Defendant

        Knowledge of weather conditions on October 30, 2015

   23. Training, Rehabilitation and Development Institute
       Custodian of Records
       425 Soledad, Suite 800


Designation of Potential Witnesses                                                              5
        Case 5:18-cv-01184-DAE Document 49 Filed 05/29/20 Page 6 of 13




        San Antonio, Texas 78205
        c/o Counsel for Defendant

        Knowledge of employment records of the deceased Anthony Barron

   24. Any and all management officials or corporate officers,
       Training, Rehabilitation and Development Institute
       425 Soledad, Suite 800
       San Antonio, Texas 78205
       c/o Counsel for Defendant

        Knowledge of policies, procedures and communications of the company. Names are
        becoming known as discovery is continuing at Camp Bullis and/or corporate offices.

   25. San Antonio River Authority
       Custodian of Records
       100 E. Guenther Street
       San Antonio, Texas 78204
       c/o Counsel for Defendant

        May have relevant information about earthen dams, structures, flow rates,
        surface drainage, flooding events, or other such data related to streams, creeks, rivers,
        lakes or ponds.

   26. Google Maps
       Custodian of Records
       1600 Amphitheatre Parkway
       Mountain View, California 94043
       c/o Counsel for Defendant

        Knowledge of Camp Bullis GOOGLE MAPS pictures.

   27. Custodian of records for the United States Geological Society
       5563 DeZavala
       San Antonio, Texas 78249
       c/o Counsel for Defendant

        Knowledge of surface water drainage, flow rate or other surface, underground, sub-
        surface or weather statistical information

   28. Chief Ruggs-retired
       Address is currently unknown
       c/o Counsel for Defendant

        Retired Chief Ruggs was on the shift prior to the start of Thomas Gaffney’s fire
        department shift according to deposition testimony of Gaffney.



Designation of Potential Witnesses                                                                  6
         Case 5:18-cv-01184-DAE Document 49 Filed 05/29/20 Page 7 of 13




    29. Any Officer of the Special Investigations mentioned in individual reports, logs or
        documents
        6457 Camp Bullis Road
        San Antonio, Texas 78257
        c/o Counsel for Defendant

         Knowledge of events on October 30, 2015.

    30. Any and all Security Forces Officers mentioned in any radio communications, logs or
        other documents working during October 30, 2015.
        6457 Camp Bullis Road
        San Antonio, Texas 78257
        c/o Counsel for Defendant

         Knowledge of events on October 30, 2015.

    31. Bexar County Board of Medical Examiners
        Custodian of Records
        7337 Louis Pasteur Drive
        San Antonio, Texas 78227
        c/o Counsel for Defendant

         Autopsy report and any and all photos.

II. Testifying Experts

    1. John D. Lavin, CCM, Meteorologist
       100 N. Broadway, Suite 750
       Wichita, KS 67202

       John Lavin’s expert opinions are based on his skill, knowledge, experience, training and

education. His written expert opinion is attached as Exhibit A 1, and should be considered to be

incorporated herein as if copied verbatim. John Lavin may also offer additional criticisms to

Plaintiffs’ expert after reviewing his deposition and/or trial testimony. His curriculum vitae and




1
  A copy of all exhibits referenced herein are being provided via certified mail, as further
indicated in the certificate of service, and are not being filed with the Court. Defendant may
make these available to the Court upon request.


Designation of Potential Witnesses                                                               7
         Case 5:18-cv-01184-DAE Document 49 Filed 05/29/20 Page 8 of 13




testimonial history is attached as Exhibit B. John Lavin is being compensated at the rate of

$390.00 per hour for file review, attendance at deposition, and attendance at trial.

       This expert reserves the right to modify or change his expert opinion as more information

becomes available in this case and to rebut any comments the plaintiffs’ experts might make that

exceed the bounds of his comments to date.


III. Non-Retained Experts

   1. Jason W. Cowin, P.E., Civil Engineer
      1 Soldier Way
      Scott AFB, IL 62225-5006

       Jason Cowin’s expert opinions are based on his skill, knowledge, experience, training and

education. His written expert opinion is attached as Exhibit C, and should be considered to be

incorporated herein as if copied verbatim. Jason Cowin may also offer additional criticisms to

Plaintiffs’ expert after reviewing his deposition and/or trial testimony. His curriculum vitae and

testimonial history is attached as Exhibit D. Jason Cowin is not being compensated for file review,

attendance at deposition, and attendance at trial.

       This expert reserves the right to modify or change his expert opinion as more information

becomes available in this case and to rebut any comments the plaintiffs’ experts might make that

exceed the bounds of his comments to date.

   2. Charles A. Ishee, Ph.D., P.E.
      139 Barnes Drive, Suite 1
      Tyndall Air Force Base, Florida 32403

       Charles Ishee’s expert opinions are based on his skill, knowledge, experience, training and

education. His written expert opinion is attached as Exhibit E, and should be considered to be

incorporated herein as if copied verbatim. Charles Ishee may also offer additional criticisms to

Plaintiffs’ expert after reviewing his deposition and/or trial testimony. His curriculum vitae and


Designation of Potential Witnesses                                                               8
         Case 5:18-cv-01184-DAE Document 49 Filed 05/29/20 Page 9 of 13




testimonial history is attached as Exhibit F. Charles Ishee is not being compensated for file

review, attendance at deposition, and attendance at trial.

       This expert reserves the right to modify or change his expert opinion as more information

becomes available in this case and to rebut any comments the plaintiffs’ experts might make that

exceed the bounds of his comments to date.

   3. Randall L. Lierly, Registered Architect
      Architect of the Air Force
      Technical Services Division
      Facilities Engineering Directorate
      Air Force Civil Engineer Center (AFCEC)
      randall.lierly@us.af.mil

       Randall Lierly will offer opinions and expert testimony regarding signage on military bases

and the incorporation of the MUTCD into military signage standards. He is expected to offer

additional opinions regarding Unified Facilities Criteria, Design: Sign Standards, standards for

effective sign programs on military installations, including the reduction of the number of signs

on each installation to the absolute minimum required, and the incorporation of the MUTCD into

those standards. He is further expected to opine that MUTCD rules and regulations governing

warning signage related to flooding risk are discretionary.

      Randall Lierly may also offer additional criticisms to Plaintiffs’ expert after reviewing his

deposition and/or trial testimony. Randall Lierly is not being compensated for file review,

attendance at deposition, and attendance at trial.

       This expert reserves the right to modify or change his expert opinion as more information

becomes available in this case and to rebut any comments the plaintiffs’ experts might make that

exceed the bounds of his comments to date.


IV. Cross Designation of Testifying Expert



Designation of Potential Witnesses                                                               9
        Case 5:18-cv-01184-DAE Document 49 Filed 05/29/20 Page 10 of 13




        Without vouching for the credibility, reliability or accuracy of any of Plaintiffs’ designated

experts, the Defendant reserves the right to cross-designate any and/or all of Plaintiffs’ expert

witnesses to elicit relevant opinions as to whether or not their opinions are supportable or

insupportable based on peer reviewed literature and other areas of interest.


V. Potential Exhibits

   1. All exhibits anticipated to be attached to Plaintiffs’ expert depositions;

   2. All exhibits attached to Defendant’s expert reports and/or depositions;

   3. All records of any type produced by the Defendant United States of America during the

        discovery process to all forms of discovery;

   4. Any weather records of any type produced by the United States;

   5. Any and all codes, statutes, guidance or other materials produced by the United States

        relevant to this incident forming the basis of this lawsuit;

   6. All photographs, visual images , videotapes, digital recordings, maps, drawings, sketches

        of any type reflecting Camp Bullis, its surrounding areas and the areas at question in this

        case;

   7. All depositions and any exhibits attached to those depositions that would be relevant.

   8.   Tax records, employment earnings statements, and other such records;

   9. There may be medical and/or medical examiner records that may be relevant.

   10. Further, there may be demonstrative evidence used during the trial to explain certain

        measurements and lays out of the area in question.

   11. Additional exhibits are anticipated as discovery continues and are expected to be added to

        supplement or amend the following exhibit list.




Designation of Potential Witnesses                                                                 10
        Case 5:18-cv-01184-DAE Document 49 Filed 05/29/20 Page 11 of 13




        Furthermore, Defendant may rely and/or produce any documents provided by Complainant

and/or produced at the deposition of any and all witnesses to this case.

        Defendant reserves the right to elicit the expert opinion testimony of any expert regarding

the decedent or the plaintiffs.

        Defendant reserves the right to elicit opinion testimony from Plaintiffs. Without attesting

to their credibility or expertise, Defendant reserves the right to elicit and use expert testimony, if

any, from Plaintiffs and/or any of the experts designated in their responses to discovery.

        Defendant reserves the right to elicit opinion testimony expressed live or in deposition

testimony taken prior to trial or contained in affidavits on file in this case.

        Defendant reserves the right to elicit the opinion testimony from experts designated by

other parties in this lawsuit. In the event a present or future party designated an expert, but the

party is dismissed for any reason from this suit or fails to call any designated expert, Defendant

reserves the right to call any such expert designated by any party.

        Defendant reserves the right to withdraw the designation of any expert and to re-designate

the witness as a consulting expert who cannot be called by opposing counsel.

        Defendant reserves the right to supplement this designation with additional designation of

experts within the time limits imposed or allowed by the Court or any alterations by subsequent

court or agreement of the parties, or pursuant to the Federal Rules of Civil Procedure or the Federal

Rules of Civil Evidence.

        Defendant’s Designation of Potential Witnesses, Testifying Experts, Non-Testifying

Experts, Expert Reports and Proposed Exhibits is supplemental to all discovery disclosures and to

requests seeking information regarding Defendant’s potential witnesses, expert witnesses,

testifying experts, expert reports and proposed exhibits.




Designation of Potential Witnesses                                                                 11
       Case 5:18-cv-01184-DAE Document 49 Filed 05/29/20 Page 12 of 13



                                           Respectfully submitted,

                                           John F. Bash
                                           United States Attorney

                                     By:   /s/ James F. Gilligan
                                           James F. Gilligan
                                           Assistant United States Attorney
                                           Texas Bar No. 07941200
                                           Faith Johnson Lowry
                                           Assistant United States Attorney
                                           Texas Bar No. 24099560
                                           601 N.W. Loop 410, Suite 600
                                           San Antonio, Texas 78216
                                           (210) 384-7345 (phone)
                                           (210) 384-7312 (fax)
                                           jim.gilligan@usdoj.gov
                                           faith.johnson@usdoj.gov
                                           Attorneys for Defendant




Designation of Potential Witnesses                                            12
        Case 5:18-cv-01184-DAE Document 49 Filed 05/29/20 Page 13 of 13




                                      Certificate of Service

       I certify that on May 29, 2020, I electronically filed this document with the Clerk of
Court using the CM/ECF system.

   ☒ The CM/ECF system will send notification to the following CM/ECF participant(s):

                        Jay Winckler (jwinckler@wincklerharvey.com)
                      Sean McConnell (smcconnell@wincklerharvey.com)

   ☒ I also certify that I have mailed this document and exhibits by United States Postal
     Service certified mail to the following:

                                         Sean McConnell
                                          Jay Winckler

                                  Winckler & Harvey, L.L.P
                           4407 Bee Cave Road, Building 2, Ste. 222
                                    Austin, Texas 78746


                                                      /s/ James F. Gilligan
                                                      James F. Gilligan
                                                      Assistant United States Attorney




Designation of Potential Witnesses                                                              13
